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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

PERFIT VISION, EYEWEAR EXPRESS              §
INC. DBA PERFIT VISION & JOHN               §
LUONG,                                      §
      Plaintiffs,                           §
                                            §
v.                                          §         Civil Action No. 4:15-cv-00408
                                            §
MOUNT VERNON FIRE INSURANCE                 §
COMPANY,                                    §
    Defendant.                              §

     Defendant’s Second Supplement to its Motion for Summary Judgment

      Defendant Mount Vernon Fire Insurance Company (Mount Vernon) files its Second

Supplement to its Motion for Summary Judgment, reply to Plaintiffs’ Response in

Opposition to Defendant’s First Supplemental Motion for Summary Judgment (Doc. No.

47) and Plaintiffs’ First Supplemental Response in Opposition to Defendant’s First

Supplemental Motion for Summary Judgment (Doc. No. 51), response to Plaintiffs’

Objections to Defendant’s Summary Judgment Evidence in First Supplemental Motion for

Summary Judgment (Doc. No. 48), and objections to and motion to strike Plaintiffs’

summary judgment evidence attached to Plaintiffs’ Response in Opposition to Defendant’s

First Supplemental Motion for Summary Judgment (Doc. No. 47).

                                    A.    Summary

      1.     First and foremost, Mount Vernon reemphasizes that this dispute may be

disposed—and summary judgment in Mount Vernon’s favor is proper—pursuant to the

valid, enforceable, and applicable Protective Devices or Services Provisions endorsement.

As detailed in Mount Vernon’s previous summary judgment filings, the endorsement
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excludes coverage for loss caused by burglary if the requisite burglar alarm was not

“maintain[ed] . . . in complete working order.”1 The competent summary judgment evidence

establishes that the burglar alarm at the Perfit Vision (Perfit) store was not “maintain[ed] . . .

in complete working order”—either because it was not armed (or “turned on”) or because it

was not functioning properly.2 Plaintiffs’ attempts to create a fact issue through John

Luong’s affidavits, which are replete with conclusory, speculative, and otherwise improper

statements about matters of which Luong has no personal knowledge, should be

disregarded, and the affidavits should be struck.

       2.       Further, there is not a shred of evidence that Plaintiffs made the requisite

down payment for the policy under which they seek to recover. Rather, the evidence,

including evidence attached to this supplement, demonstrates the opposite.

       3.       In addition, the application Luong signed contains false information. By

providing false information in the application, Luong3 breached the Warranty Statement

which appears over his signature.            Pursuant to the plain and express language of the

 1 All of the arguments and authorities in, and exhibits attached to, Mount Vernon’s prior summary
 judgment filings at Docket Nos. 23, 27, 28, 40, and 41 are incorporated by reference as if fully set forth in
 this motion.
 2 See e.g., Scottsdale Ins. Co. v. Logansport Gaming, L.L.C., 556 Fed. Appx. 356, 357-60 (5th Cir. 2014)

 (unpublished opinion)(holding, after fire suppression system did not activate during fire, insured failed to
 maintain fire suppression system “in complete working order” as required by protective safeguards
 endorsement); Def’s Mot. Summ. J. (Doc. No. 23 at 13-17 and authorities cited holding such protective
 safeguards provisions exclude coverage for loss when insureds fail to activate, or turn on, such alarms or
 systems); see Transcripts from Status Conferences (Doc. No. 18 at 2:23-3:2, 3:9-15; Doc. No. 19 at 6:13-15,
 14:13-16, 15:4-7) (Plaintiffs’ counsel acknowledging the alarm was not armed at the time of the burglary);
 Aff. of J. Cao (Doc. No 23-8); Alarm Activity Records (Doc. Nos. 23-9, 23-10, 23-11)(documenting alarm
 was not armed at time of burglary); Police Report (Doc. No. 27-1 at Page 7 of 8) (noting Perfit’s manager
 Michael Luong indicated Perfit’s personnel discovered burglary Monday morning after the burglary; and,
 “When they arrived the alarm was not turned on. Sugar Land dispatch advised that the last alarm that at
 SLPD received at that business was in November of 2013. The last employee to leave the business was
 Lisa Tran who . . . could not remember if she set the alarm.”).
 3
  The “Applicant’s Name” in the application is “Chris Tran and John Luong dba Perfect Vision.” To simplify
 matters, the applicant will be referred to as Luong in this filing.
                                                      2
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Warranty Statement, Luong warranted that the information provided in the application was

true and correct and further “acknowledge[d] and agree[d] that a breach of this

WARRANTY STATEMENT is grounds for the Company to declare void any policy . . .

and/or deny any claim(s) for coverage thereunder.” Accordingly, Mount Vernon’s denial of

Plaintiffs’ claim for insurance coverage was also proper for this reason.

                           B.     Summary Judgment Evidence

       4.     Mount Vernon submits the following supplemental summary judgment

evidence in support of this motion:

       Exhibit G      Affidavit of Susan DeHart Khan, Sales Producer, Westridge, LLC

       Exhibit G-1 Email from Roxana Fuentes of Westridge, LLC to John Luong
                   Regarding Draft of Policy Application

       Exhibit G-2 Completed Insurance Policy Application Signed by John Luong

       Exhibit G-3 ETI Financial Corporation Premium Finance Agreement Signed by John
                   Luong

       Exhibit G-4 Email Dated March 24, 2014 from Braishfield Associates, Inc. to
                   Westridge, LLC Regarding Nonpayment of the Down Payment on the
                   Policy Premium

       Exhibit G-5 Email Dated April 28, 2014 Regarding Policy Cancellation Endorsement

       Exhibit G-6 Emails Dated April 20 and 21, 2015 Between John Luong and
                   Westridge, LLC

       Exhibit G-7 Emails Dated April 24, 2015 Between Plaintiffs’ Counsel and Westridge,
                   LLC

       Exhibit G-8 Documents Pertaining to Luong and/or Chris Tran’s Insurance Claim
                   for a Loss in 2013

       Exhibit H      Excerpts from Records Produced by Allstate Insurance Company


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       Exhibit I     Affidavit of Kenneth Alan Ferguson, Assistant Vice President,
                     Commercial Lines Team Leader, Mount Vernon Fire Insurance
                     Company

                               C.      Factual Background

1.     The Application

       5.     In September of 2013, Allstate cancelled the policy on which Chris M. Tran

and John Luong were named insureds, noting, “The reason for cancellation is NON-

PAYMENT OF PREMIUM.” Allstate Records [Ex. H at 376-84]. Attached is the Affidavit of

Susan DeHart Khan [Ex. G], of Westridge, LLC (Westridge), the retail insurance agency

through which Luong secured the Mount Vernon policy. In the affidavit, DeHart Khan sets

forth the following: In February of 2014, Luong contacted Westridge, an Allstate affiliated

agency, to obtain an insurance policy for the Perfit retail eyewear stores. Westridge had

purchased the agency from another entity, which was also an exclusive Allstate agency. [Ex.

G, paras. 2, 4]. When Luong contacted Westridge in February of 2014, the type of coverage

Perfit previously had was no longer available from Allstate. [Ex. G, para. 6]. Accordingly,

Westridge obtained permission to shop for the coverage with another carrier. Id. This was

the first time Westridge had placed coverage for Mr. Luong. [Ex. G, para. 3]. Westridge

worked with Luong to complete the application for the Mount Vernon policy by obtaining

the information necessary to complete the application. [Ex. G, paras. 8-11]. The application

Luong signed includes the following:

       By signing this application you are warranting that all information on this
       application is true and correct.
              ....



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 Has coverage been cancelled or non-renewed in             Yes  No
 the last 3 years? . . .
    If yes, please provide complete details:
                ....

 Loss information for the past 3 years:    None or provide details below



        ....

 Has insurance coverage been cancelled or                  Yes  No
 non-renewed in the past 3 years? . . .
        ....

 No General Liability losses/claims incurred in the       True  False
 past 3 years (excluding closed no pay) Note:
 we can still consider this account with some
 loss activity in the past 3 years, however this quote
 would not be valid and we would need to review
 the details of the claims. Please advise dates,
 incurred and reserve amounts and the description
 of the loss and we will review.

 No Property losses/claims incurred in the past           True  False
 3 years (excluding closed no pay)
        ....

 Fraud Statement: Any person who knowingly and with intent to defraud any
 insurance company or other person, files an application for insurance or
 statement of claim containing any materially false information, or conceals for
 the purpose of misleading, information concerning any fact material thereto,
 commits a fraudulent insurance act, which is a crime and may subject such
 person to criminal and/or civil penalties and other sanctions.

 Applicant’s Warranty Statement: I warrant that the information provided in
 this Application, and any amendments or modifications to this Application are
 true and correct. I acknowledge that the information provided in this
 Application is material to acceptance of the risk and the issuance of the
 requested policy by Company. I agree that any claim, incident, occurrence,
 event or material change in the Applicant’s operation taking place between the
 date this application was signed and the effective date of the insurance policy
 applied for which would render inaccurate, untrue or incomplete, any
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        information provided in this Application, will immediately be reported in
        writing to the Company and the Company may withdraw or modify any
        outstanding quotations and/or void any authorization or agreement to bind
        the insurance. Company may, but is not required, to make investigation of the
        information provided in this Application. A decision by the Company not to
        make or to limit such investigation does not constitute a waiver or estoppel of
        Company’s rights.

        I acknowledge that this Application is deemed incorporated by reference in
        any policy issued by Company in reliance thereon whether or not the
        Application is attached to the policy.

        I acknowledge and agree that a breach of this WARRANTY
        STATEMENT is grounds for Company to declare void any policy or
        policies issued in reliance thereon and/or deny any claim(s) for
        coverage thereunder.

[Exs. D-1 (Doc. No. 40-2); G, paras. 8-11; G-2].4

        6.        Westridge then sent the entire completed application to Luong to review for

accuracy. [Ex. G, paras. 10-11]. Luong signed the application and returned it to Westridge.

[Exs. G, para. 11; G-2; D-1 (Doc. No. 40-2)]. Westridge submitted the application to surplus

lines agent and wholesale broker Braishfield Associates, Inc. (Braishfield), and Braishfield

submitted the policy to Mount Vernon. [Exs. A (Doc. No. 23-2), paras. 5-14; G, paras. 6-7].

 4
     In addition, and as previously noted, the policy’s Common Policy Conditions include the following
 provision:

        C. Concealment, Misrepresentation Or Fraud
              This policy is void in any case of fraud by you as it relates to this policy at any time. It is
              also void if you or any other insured, at any time, intentionally conceal or misrepresent a
              material fact concerning:
              1. This policy;
              2. The Covered Property;
              3. Your interest in the Covered Property; or
              4. A claim under this policy.

        [Ex. A-1 (Doc. No. 23-3)].
                                                          6
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2.     Mount Vernon’s Reliance on the Application

       7.     As reflected in the attached affidavit from Kenneth Alan Ferguson, Assistant

Vice President, Commercial Lines Team Leader [Ex. I], Mount Vernon relied on the

information and warranties in the application in determining whether to issue an insurance

policy and the scope of coverage the policy provided. Aff. of Kenneth Alan Ferguson [Ex. I,

paras. 4-15]. The warranties regarding prior losses and claims and prior cancellation or non-

renewal of coverage were material to the policy Mount Vernon issued. Id. In fact, the

language from the application quoted above twice refers to a policy (or policies) issued by

Mount Vernon “in reliance” on the application and expressly states that Luong

“acknowledge[s] that the information provided in this Application is material to acceptance

of the risk and the issuance of the requested policy by [Mount Vernon].” [Exs. D-1 (Doc.

No. 40-2); D-2 (Doc. No. 40-3); G-2]. Further, as noted in the application and in Ferguson’s

affidavit, Luong “acknowledge[d] that this Application is deemed incorporated” in the

Mount Vernon policy “whether or not the Application is attached to the policy.” Id.; [Ex. I,

para. 16].

3.     False Information in the Application

       8.     Contrary the aforementioned warranty in the application Luong signed, had

Luong made an insurance claim to Allstate for another burglary loss, which occurred at the

Perfit store in Sugar Land in 2011. [Exs. E (Doc. No. 40-4); H at 172-234]. Luong also made

yet another insurance claim to Allstate for water damage at one of the Perfit Vision stores in

2013. [Exs. G, para. 26; H at 235-371]. Further, and contrary to the warranties in the

application, the Allstate policy was cancelled for “NON-PAYMENT OF PREMIUM” in

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September of 2013, about five months before Luong submitted the application for the Mount

Vernon policy. [Exs. A-1; H at 376-84].

        9.       Had Mount Vernon known of the losses in the three years preceding the

application, Mount Vernon would not have issued the policy as written. [Ex. I]. More

specifically, if Mount Vernon had been aware of the prior theft loss in 2011, Mount Vernon

would not have issued the policy with coverage for theft. Id. Consequently, the Mount

Vernon policy would have provided no coverage for the March 2014 burglary loss at issue in

Plaintiffs’ suit. Id.

4.      Non-Payment of the Policy Premium

        10.      The affidavit from Westridge’s representative further details Plaintiffs’ failure

to pay the down payment due for the premium on the Mount Vernon policy and the

subsequent cancellation of the Mount Vernon policy for non-payment of the premium. [Exs.

G, paras. 13-25; G-3; G-4; G-5; G-7].

                                 D.    Argument and Authorities

1.      The false information in the application constitutes a breach of warranty.

        11.      Luong breached the warranty that the information in the application was true,

and the truth of the information in the application was a condition precedent to coverage

under the policy. In the insurance context, a warranty is a statement by the insured “which

is susceptible of no construction other than that the parties mutually intended that the policy

should not be binding unless such statement be literally true.” Lane v. Travelers Indem. Co., 391

S.W.2d 399, 402 (Tex. 1965) (citation and internal quotation marks omitted). In general,

policy provisions that turn on the truth or falsity of answers in an insurance application are

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treated as representations because warranties which result in forfeiture are disfavored under

Texas law. Gouverne v. Care Risk Retention Group, Inc., Civ. Action No. 2-07-206, 2008 U.S.

Dist. LEXIS 38869, 2008 WL 2065835 at *13 (S.D. Tex. May 13, 2008)(citing Allied Bankers

Life Ins. Co. v. De La Cerda, 584 S.W.2d 529, 532 (Tex. Civ. App.—Amarillo 1979, writ ref’d

n.r.e.)). However, a policy provision which expressly provides that coverage does not exist

unless the applicant’s statements are true operates as a warranty or condition precedent.

Gouverne, 2008 U.S. Dist. LEXIS 38869 at *13 (citing Riner v. Allstate Life Ins. Co., 131 F.3d

530, 536-37 (5th Cir. 1997); Cartusciello v. Allied Life Ins. Co. of Tex., 661 S.W. 2d 285, 288 (Tex.

App.—Houston [1st Dist.] 1983, no writ)). Insurance policies are construed in the insured’s

favor to avoid exclusion of coverage. Puckett v. U.S. Fire Ins. Co., 678 S.W.2d 936, 938 (Tex.

1984)(citing Ramsay v. Md. Am. Gen. Ins. Co., 533 S.W.2d 344 (Tex. 1976)). “That rule does

not apply, however, when the term in question is susceptible of only one reasonable

construction.” Puckett, 678 S.W.2d at 938 (citing Ranger Ins. Co. v. Bowie, 574 S.W.2d 540 (Tex.

1978)). Courts look first to the language of the contract itself, and “[w]hen there is no

ambiguity, it is the court’s duty to give the words used their plain meaning”. Salazar v. State

Farm Lloyds, Civ. Action No. H-13-1904, 2014 U.S. Dist. LEXIS 85893, 2014 WL 2862760 at

*8 (S.D. Tex. June 24, 2014)(citing Sharp v. State Farm Fire & Cas. Ins. Co., 115 F.3d 1258,

1260 (5th Cir. 1997)).

       12.     The application could not state any more clearly and unambiguously that

Luong warranted as a condition of coverage that the statements he provided in the

application were true and correct. [Exs. D-1 (Doc. No. 40-2); D-2 (Doc. No. 40-3); G-2].

Luong warranted that the information provided in the application was not only “true and

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correct,” but also was “material to acceptance of the risk and the issuance of the requested

policy.” Id. Luong further warranted that any policy issued was issued “in reliance” on the

application. Id. More importantly, John Luong “acknowledge[d] and agree[d] that a

breach of this WARRANTY STATEMENT is grounds for Company to . . . declare

void any policy or policies issued in reliance thereon and/or deny any claim(s) for

coverage thereunder.” Id. (emphasis in original). Indeed, Mount Vernon relied on Luong’s

material representations in the application in issuing the policy. Id.; [Ex. I, paras. 4-15].

If Luong’s application truthfully reflected the burglary loss in 2011, Mount Vernon would

have not issued a policy with coverage for theft, and there would have been no coverage for

the 2014 burglary at issue in this suit. Id. In addition, by signing the application, Luong

acknowledged, “this Application is deemed to be incorporated by reference in any policy

issued by Company in reliance thereon whether or not the Application is attached to the

policy.” Id.; see also Ex. I, para. 16]. In other words, the application is a part of the Mount

Vernon policy.     In addition, the plain and unambiguous terms of the Concealment,

Misrepresentation Or Fraud clause of the policy’s Common Policy Conditions provide that

the policy is “void if you or any other insured, at any time, intentionally conceal or

misrepresent [such] a material fact . . . .” [Ex. A-1 (Doc. No. 23-3)]. This clause further

unambiguously provides: “This policy is void in any case of fraud by you as it relates to this

policy at any time.” Id.

       13.    Mount Vernon thus included warranty language in the application and policy

and conditioned coverage on the truthfulness of the information in the application. Cf.

Gouverne, 2008 U.S. LEXIS 38869 at *12-*16 (finding similar language in insurance policy

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constituted a warranty, and coverage was conditioned on truthfulness of statements in

application)(citing Lane, 391 S.W.2d at 402 as “finding no warranty because there was no

express declaration in the policy regarding warranties, there was no provision that the policy

would only be effective if the statements were true and there was no provision that the

policy would be void if the statements were untrue”). Luong breached this warranty because

the application contained false information regarding prior losses or claims and cancellation

or non-renewal of coverage within the three years preceding the application. Accordingly,

the Mount Vernon policy provides no coverage for the 2014 burglary loss, and Mount

Vernon’s denial of Plaintiffs’ claim was proper.

2.     Whether Luong reviewed the application before he signed it has no bearing on
       coverage.

       14.    In addition, Luong’s statements in his most recent affidavit (Doc. No. 47-1)

that he did not fill out the application and did not review the answers on the application, but

signed the application, do not create coverage where none exists. As the Texas Supreme

Court has recognized, “parties to a contract have an obligation to protect themselves by

reading what they sign and, absent a showing of fraud, cannot excuse themselves from the

consequences of failing to meet that obligation.” In re Lyon Fin. Servs., Inc., 257 S.W.3d 228,

233 (Tex. 2008) (orig. proceeding) (per curiam).       Further, an insured is charged with

knowledge of the provisions of an insurance policy and is deemed to know the contents of

the contract the insured makes. See, e.g., Howard v. Burlington Ins. Co., 347 S.W.3d 783, 792

(Tex. App.—Dallas 2011, no pet.); Jeffries v. Pat A. Madison, Inc., 269 S.W.3d 689, 692 (Tex.

App.—Eastland 2008, no pet.); E.R. Dupuis Concrete Co. v. Penn Mut. Life Ins. Co., 137 S.W.3d


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311, 317 (Tex. App.—Beaumont 2004, no pet.); Pankow v. Colonial Life Ins. Co. of Tex., 932

S.W.2d 271, 277 (Tex. App.—Amarillo 1996, writ denied); Shindler v. Mid-Continent Life Ins.

Co., 768 S.W.2d 331, 334 (Tex. App.—Houston [14th Dist.] 1989, no writ); Standard Accident

Ins. Co. v. Employers Cas. Co., 419 S.W.2d 429, 432 (Tex. Civ. App.—Dallas 1967, writ ref’d

n.r.e.); see also Lyon, 257 S.W.3d at 232 (“[a] party who signs a document is presumed to know

its contents” including “documents specifically incorporated by reference”).           Luong’s

position is further undermined by the affidavit from Westridge’s representative, DeHart

Khan, who notes pivotal facts Luong has omitted from his affidavit, including the fact that

DeHart Khan completed the application with Luong over the phone and with information

Luong provided and Westridge sent the entire application for Luong to review for accuracy

and then sign. [Ex. G at paras. 3, 4, 8-11]. In sum, Luong’s most recent affidavit, like his

previous one, does not create coverage or a genuine issue of material fact sufficient to defeat

summary judgment in Mount Vernon’s favor.

3.     The analysis on which Plaintiffs base their response is inapplicable to Luong’s
       warranty, which he breached.

       15.    Plaintiffs mischaracterize the Warranty Statement and the information in the

application as representations rather than a warranty and thereby apply the incorrect analysis.

In their response, Plaintiffs cite section 705.004 of the Texas Insurance Code, which provides:

       (a) An insurance policy provision that states that false statements made in the
           application for the policy or in the policy make the policy void or voidable:
           (1) has no effect; and
           (2) is not a defense in a suit brought on the policy.
       (b) Subsection (a) does not apply if it is shown at trial that the matter
           misrepresented:
           (1) was material to the risk; or


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           (2) contributed to the contingency or event on which the policy became
                due and payable.
       (c) It is a question of fact whether a misrepresentation made in the application
           for the policy or in the policy itself was material to the risk or contributed
           to the contingency or event on which the policy became due and payable.

 TEX. INS. CODE § 705.004; (Doc. No. 47 at 2). Plaintiffs then note that under Texas law,

 an insurer may avoid liability on a “life insurance policy”, unlike the Mount Vernon

 commercial property and liability policy, due to a misrepresentation by the insured. (Doc.

 No. 47 at 2)(citing Mayes v. Mass Mut. Life Ins. Co., 608 S.W.2d 612, 616 (Tex. 1980)).

 Plaintiffs next cite authority which provides that an insurer must establish the following

 five elements to establish a misrepresentation defense and avoid or rescind an insurance

 contract: (1) a representation by the insured; (2) falsity of the representation; (3) reliance

 thereon by the insurer; (4) the intent to deceive by the insured; and (5) materiality of the

 representation. Id.; see also Chubb Life Ins. Co. v. Stanley, No. A14-91-01360-CV, 1992 Tex.

 App. LEXIS 2743, 1992 WL 289345 at *5 (Tex. App.—Houston [14th Dist.] Oct. 15,

 1992)(unpublished opinion)(“As set out by the Texas Supreme Court in Mayes, appellant is

 entitled to a contract recision only if it is able to meet its burden of proof on five prima

 facie elements.”)(citing Mayes, 608 S.W.2d at 616).

       16.    As previously addressed, the Warranty Statement in the application is not a

mere representation, but a warranty that the information in the application is true, and

coverage is conditioned on the truthfulness of the information in the application. [Exs. D-1

(Doc. No. 40-2); D-2 (Doc. No. 40-3); G-2]; see, e.g., Gouverne, 2008 U.S. Dist. LEXIS 38869

at *12-*16 (citing Riner, 131 F.3d at 536-37; Puckett, 678 S.W.2d at 938; Lane, 391 S.W.2d at

402; De La Cerda, 584 S.W.2d at 532). The evidence establishes that Luong breached this

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warranty by submitting an application with false information. [Exs. D-1 (Doc. No. 40-2); D-

2 (Doc. No. 40-3); E (Doc. No. 40-4); F (Doc. No. 40-5); G, paras 3, 4, 8-11, 26, 27; G-2; G-

8; H at 172-234; 235-371].       Luong therefore breached the warranty, and the condition

precedent to coverage was not satisfied. See, e.g., Gouverne, 2008 U.S. Dist. LEXIS 38869 at

*12-*16 (citing Riner, 131 F.3d at 536-37; Puckett, 678 S.W.2d at 938; Lane, 391 S.W.2d at

402; De La Cerda, 584 S.W.2d at 532); see also Hinna v. Blue Cross Blue Shield of Tex., No. 4: 06-

CV-810-A, 2007 U.S. Dist. LEXIS 78235, 2007 WL 3086025 at *15-*17 (N.D. Tex. Oct. 22,

2007) (differentiating between representations and warranties in insurance context). Because

Luong breached the warranty, Mount Vernon was entitled to deny the claim for the 2014

burglary. [Exs. D-1 (Doc. No. 40-2); D-2 (Doc. No. 40-3); G-2].

       17.     In addition, Mount Vernon does not necessarily, or solely, seek to avoid or

rescind the policy, but offers Luong’s breach of the Warranty Statement as yet another

reason Mount Vernon was entitled to deny coverage for the 2014 burglary claim. The five-

factor misrepresentation defense analysis is therefore inapplicable. See Stanley, 1992 Tex.

App. LEXIS 2743 at *5 (citing Mayes, 608 S.W.2d at 616).

       18.     Further, even if the misrepresentation analysis applies, the five elements are

satisfied in this case. Regarding the first element, by signing the application as the owner of

the businesses listed in the application, Luong warranted, and at the very least represented,

that there had been no losses or no insurance claims and no cancellation or non-renewal of

insurance coverage in the three years preceding the application. Id.; [Ex. I]. Regarding the

second element, this information was false. [Exs. D-1 (Doc. No. 40-2); D-2 (Doc. No. 40-3); E

(Doc. No. 40-4); F (Doc. No. 40-5); G, paras 3, 4, 8-11, 26, 27; G-2; G-8; H at 172-234; 235-371].

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       19.     With regard to the third and fifth elements—reliance and materiality—Mount

Vernon relied on the information in the application in issuing the policy and would not have

issued the policy as written had Luong submitted a truthful application. [Ex. I, paras. 4-15].

The application twice refers to any policy issued by Mount Vernon “in reliance” on the

application and further provides that Luong “acknowledge[s] that the information provided

in this Application is material to acceptance of the risk and the issuance of the requested

policy” by Mount Vernon. [Exs. D-1 (Doc. No. 40-2); D-2 (Doc. No. 40-3); G-2].

Additionally, in his affidavit, Ferguson addresses Mount Vernon’s underwriting process and

notes that Mount Vernon relied on the information in Luong’s application, including the

information falsely indicating that there had been no claims or losses and coverage had not

been cancelled or non-renewed in the three years preceding the application. [Ex. I, paras 4-15].

Ferguson’s affidavit also establishes that this information was material to the policy and to the

scope of coverage. Id. Ferguson further notes that if the application reflected the truth—that

there was a burglary loss and claim in 2011—then Mount Vernon may have issued a policy,

but would have excluded coverage for theft. [Ex. I, paras. 10, 13]. Accordingly, there would

have been no coverage for the 2014 loss at issue in this suit. Id. Thus, Mount Vernon relied

on the application in issuing the policy, and the information in the application was material to

the risk insured and the policy issued.

       20.     As the federal district court in Hinna observed:

       Section 705.004 of the Texas Insurance Code provides that an insurance policy
       provision stating that false statements made in the application for the policy
       render the policy void or voidable will only be effective as a defense in suit
       brought on the policy when “the matter represented: (1) was material to the


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       risk; or (2) contributed to the contingency or event on which the policy became
       due and payable.” Tex. Ins. Code. Ann. § 705.004(b) . . . .
               ....

       Materiality to the risk is viewed as of the time of the issuance of the policy, not
       at the time the loss occurred. Robinson v. Reliable Life Ins. Co., 569 S.W.2d 28, 30
       (Tex. 1978). “[T]he principal inquiry in determining materiality is whether the
       insurer would have accepted the risk if the true facts had been disclosed.” Id. at
       29. See also Harrington v. Aetna Cas. & Sur. Co., 489 S.W.2d 171, 177-78 (Tex.
       Civ. App.—Waco 1972, writ ref’d n.r.e.) (“[W]e believe the rule to be that the
       misrepresentation is not ‘material to the risk,’ as that phrase is used in the
       statute, unless it actually induced the insurance company to assume the risk.”).
       Because the disjunctive “or” is used in section 705.004(b) of the Texas
       Insurance Code, an insurance policy can be avoided upon a finding that the
       misrepresentation was material to the risk without proof that the condition
       misrepresented contributed to the event that caused the loss. See Robinson, 569
       S.W.2d at 28.


Hinna, 2007 U.S. Dist. LEXIS 78235 at *18-*19; see also Bates v. Jackson Nat’l Life Ins. Co., 927

F. Supp. 1015, 1020 (S.D. Tex. 1995)(noting affidavit by insurer’s vice president of

underwriting stated insurer relied on representations in application in deciding to issue policy

to applicant and would not have issued policy if insurer knew the truth); Stanley, 1992 Tex.

App. LEXIS 2743 at *7 (finding underwriter’s testimony that if the insured had been honest

in his application, this “‘would have been a knock-out factor’”, established reliance and

materiality elements as a matter of law).

       21.    The summary judgment evidence establishes that Mount Vernon relied on the

application in determining whether to issue the policy and the scope of coverage. [Exs. D-1

(Doc. No. 40-2); D-2 (Doc. No. 40-3); G-2; I]. The summary judgment evidence also

establishes that had Mount Vernon known the truth, Mount Vernon would not have issued

the policy as written and would have excluded coverage for theft. Accordingly, even if the


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five-element misrepresentation analysis applies, the reliance and materiality elements are

established. See Hinna, 2007 U.S. Dist. LEXIS 78235 at *18-*19.

       22.     With regard to the fourth element, intent to deceive can be established as a

matter of law, and therefore at the summary judgment stage, contrary to Plaintiffs’ contention

otherwise. For example, in the Hinna opinion, the court recognized:

       In Lee v. National Life Assurance Co. of Canada, 632 F.2d 524 (5th Cir. 1980), the Fifth
       Circuit stated that the rule of Texas appeared to be that:

               [I]ntent to deceive or induce issuance of an insurance policy can
               never be proved as a matter of law to establish the
               misrepresentation defense in the absence of either a warranty
               that the facts contained in the application are true or evidence
               of collusion between the applicant and the insurance agent.

       Id. at 528 (citing Washington v. Reliable Life Ins. Co., 581 S.W.2d 153, 160 (Tex.
       1979)). However, the Fifth Circuit subsequently pronounced that this
       interpretation was incorrect. Based on the intervening case of Mayes v.
       Massachusetts Mutual Life Insurance Co., 608 S.W.2d 612 (1980), the Fifth Circuit
       held that “intent to deceive or induce issuance of the policy can, under Texas
       law, be established as a matter of law regardless of whether there is any
       evidence of collusion or a warranty by the insured.” Lee v. Nat'l Life Assurance
       Co. of Canada, 635 F.2d 516, 517 (5th Cir. 1981).

Hinna, 2007 U.S. Dist. LEXIS 78235 at *10-*11; see also Bates, 927 F. Supp. at 1020 (“On

rehearing in Lee, the Fifth Circuit modified its prior opinion on the basis of the Texas

Supreme Court’s decision in Mayes, stating that ‘the clear implication of the Mayes decision is

that intent to deceive or induce issuance of the policy can, under Texas law, be established as

a matter of law regardless of whether there is any evidence of collusion or a warranty by the

insured.’” (quoting Lee v. Nat’l Life Assurance Co. of Canada, 632 F.2d 524, 528 (5th Cir. 1981)).

       23.     Luong’s application includes an express “warranty that the facts contained in

the application are true.” See Hinna, 2007 U.S. Dist. LEXIS 78235 at *10 (quoting Lee, 632

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F.2d at 528); [Exs. D-1 (Doc. No. 40-2); D-2 (Doc. No. 40-3); G-2]. Luong’s intent to

deceive is therefore established as a matter of law. See id.

       24.     In addition, “[t]he Texas Supreme Court has noted that ‘the utterance of a

known false statement, made with intent to induce action . . . is equivalent to an intent to

deceive.’” Hinna, 2007 U.S. Dist. LEXIS 78235 at *13 (quoting Union Bankers Life Ins. Co. v.

Shelton, 889 S.W.2d 278, 282 n.7 (Tex. 1994)). When Luong was sent the application to

review for accuracy and then signed and submitted the application for the Mount Vernon

policy, Luong was aware of the 2011 burglary loss, the 2013 loss, and should have been

aware of the cancellation of the prior policy in September of 2013. [Exs. D-1 (Doc. No. 40-

2); D-2 (Doc. No. 40-3); E (Doc. No. 40-4); F (Doc. No. 40-5); G, paras 3, 4, 8-11, 26, 27;

G-2; G-8; H at 172-234; 235-371]; Aff. of John Luong (Doc. No. 47-1 at 2-3). Nonetheless,

Luong signed and submitted the application, which included the the false statements, with the

intent to induce Mount Vernon to issue the policy. See id. Thus, for this additional reason, the

intent to deceive element is established as a matter of law. See Hinna, 2007 U.S. Dist. LEXIS

78235 at *13 (quoting Shelton, 889 S.W.2d at 282 n.7).

       25.     In sum, the Mount Vernon policy provides no coverage, and Mount Vernon’s

denial of Plaintiffs’ insurance claim was proper because Luong breached the warranty that

the information in his application was true, and the truth of the information was a condition

precedent to coverage. Further, even if the five-factor misrepresentation analysis applies as

Plaintiffs purport, the five elements are established in this case as a matter of law. Summary

judgment in Mount Vernon’s favor is therefore proper for this reason as well as the others

addressed in Mount Vernon’s prior summary judgment filings.

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4.     Plaintiffs’ Objections to Defendant’s Summary Judgment Evidence are Moot.

       26.     The exhibits attached to this supplement are in proper, admissible form.

Plaintiffs’ Objections to Defendant’s Summary Judgment Evidence in First Supplemental

Motion for Summary Judgment are therefore moot and should be overruled. (Doc. No. 48);

[Exs. G, paras. 26-27, 1.1.1.8.; G-8, H at 315-47, 376-84].

5.     Objections to and Motion to Strike Plaintiffs’ Summary Judgment Evidence

       27.     Once again, rather than submitting competent summary judgment evidence,

Plaintiffs rely on an affidavit by Luong to support their most recent summary judgment

filings. (Doc. No. 47-1). As with Luong’s prior affidavit (Doc No. 25-1), his most recent

affidavit is composed of inadmissible, speculative, and conclusory statements and is

otherwise incompetent. His latest affidavit, or at least parts of it, should therefore be struck.

       a.      Applicable Legal Principles

       28.     As a general matter, a district court is entitled to strike summary judgment

evidence when the evidence is inadmissible, speculative, conclusory, improperly

authenticated, or otherwise incompetent. See Akin v. Q-L Invs., Inc., 959 F.2d 521, 530-31

(5th Cir. 1992); see also Interplan Architects, Inc. v. C.L. Thomas, Inc., No. 4:08-cv-3180, 2010 U.S.

Dist. LEXIS 114306, 2010 WL 4366990 at *20-*22 (S.D. Tex. Oct. 27, 2010).                       Mere

conclusory allegations are not competent summary judgment evidence, and such allegations

are therefore insufficient to defeat summary judgment. Eason v. Thaler, 73 F.3d 1322, 1325

(5th Cir. 1996).      Unsubstantiated assertions, improbable inferences, and unsupported

speculation are not competent summary judgment evidence. Garcia v. Luma Corp., Inc., No.

3:02-CV-2426-L, 2004 LEXIS U.S. Dist. 14413 at *13 (N.D. Tex. July 27, 2004). A district

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court may strike any affidavit or any part thereof that does not meet the standards of Federal

Rule of Civil Procedure 56(c)(4). See Akin, 959 F.2d at 530-31. Thus, a district court may

strike an affidavit if it is not based on personal knowledge, if it sets out facts that would not

be admissible in evidence, or if it does not show that the affiant is competent to testify on

the matters stated. See FED. R. CIV. P. 56(c)(4); see also Interplan, 2010 U.S. Dist. LEXIS

114306 at *21.

       b.      Affidavit of John Luong Attached to Plaintiffs Response in Opposition
               to Defendant’s First Supplemental Motion for Summary Judgment

       29.     Luong’s affidavit, or at least parts of it, should be struck because the affidavit

contains speculative, self-serving conclusions unsupported by facts, as well as improper legal

conclusions and hearsay. For example, Luong’s affidavit contains inadmissible hearsay

regarding purported statements by Westridge, Roxanna Fuentes, and Allstate. Aff of John

Luong (Doc. No. 47-1, paras. 3-6); see FED. R. EVID. 801(c), 802; Eason, 73 F.3d at 1325.

Luong’s affidavit also contains statements which are speculative, not based on his personal

knowledge, and conclusory, including: “I think I know what happened,” followed by what

he speculates happened (Id., para. 5), that Westridge, and not its predecessor, was the

insurance agent with which Luong dealt during all of the years he has owned the retail

eyewear stores (Id., para. 2, 6), “I assumed Westridge . . . .” (Id., para. 6), “I don’t know if

Westridge . . . .” (Id. para. 7), “I am not sure why . . . .” (Id., para. 9) , “. . .so maybe that is

why . . . (Id., para. 8), and “I just assumed . . . .” (Id., para 10). Garcia, No. 3:02-CV-2426-L,

2004 LEXIS U.S. Dist. 14413 at *13. These statements should therefore be struck. See

Akin, 959 F.2d at 530-31; Interplan, 2010 U.S. Dist. LEXIS 114306 at *20-*22.


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                                     E.        Conclusion

       30.    For the reasons addressed above and in Mount Vernon’s other summary

judgment filings, summary judgment in Mount Vernon’s favor is proper. As a preliminary

matter, Plaintiffs “Perfit Vision” and Eyewear Express Inc. DBA Perfit Vision are not

parties to the policy and have no standing to sue under the policy. Their claims should

therefore be dismissed. Moreover, the policy’s Protective Devices or Services Provisions

endorsement excludes coverage for Plaintiffs’ 2014 burglary loss because the competent

summary judgment evidence establishes that the burglary alarm system was not

“maintain[ed] . . . in completed working order” as a matter of law. Further, the undisputable

evidence consistently establishes that Plaintiffs did not make the requisite premium down

payment for the premium on the policy under which they seek to recover. Finally, Luong

breached the warranty that the information in the application was true, and the truth of the

information was a condition precedent to coverage. Further, even if the information in the

application is considered representations rather than a warranty, the five elements of a

misrepresentation defense are satisfied as a matter of law. For all of these reasons, the policy

provides no coverage for Plaintiffs’ loss, Mount Vernon’s denial of Plaintiffs’ claim for

coverage was proper, and summary judgment in Mount Vernon’s favor is proper.

                                          F.     Prayer

Mount Vernon respectfully requests that this Court grant summary judgment in Mount

Vernon’s favor, deny Plaintiffs’ cross-motion for summary judgment, enter final judgment in

favor of Mount Vernon, sustain Mount Vernon’s objections to Plaintiffs’ summary judgment



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evidence and strike the improper evidence submitted by Plaintiffs, and grant Mount Vernon

all other and further relief to which it may be justly entitled.

                                              Respectfully submitted,

                                              BINGHAM, MANN & HOUSE

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                                Certificate of Service

       I hereby certify that a true and correct copy of the foregoing instrument has been
served on all counsel of record electronically via CM/ECF for the United States District
Court for the Southern District of Texas in accordance with the Federal Rules of Civil
Procedure and Local Rule LR5 on August 21, 2015, as follows:

Carlos Peniche
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